Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 1 of 23 PageID #: 1
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 2 of 23 PageID #: 2
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 3 of 23 PageID #: 3
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 4 of 23 PageID #: 4
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 5 of 23 PageID #: 5
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 6 of 23 PageID #: 6
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 7 of 23 PageID #: 7
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 8 of 23 PageID #: 8
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 9 of 23 PageID #: 9
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 10 of 23 PageID #: 10
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 11 of 23 PageID #: 11
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 12 of 23 PageID #: 12
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 13 of 23 PageID #: 13
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 14 of 23 PageID #: 14
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 15 of 23 PageID #: 15
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 16 of 23 PageID #: 16
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 17 of 23 PageID #: 17
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 18 of 23 PageID #: 18
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 19 of 23 PageID #: 19
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 20 of 23 PageID #: 20
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 21 of 23 PageID #: 21
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 22 of 23 PageID #: 22
Case 4:11-cv-00655-ALM Document 1 Filed 10/14/11 Page 23 of 23 PageID #: 23
